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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT
_________________________________
                                  )
UNITED STATES OF AMERICA          )
                                  )
      v.                          )    CRIMINAL NO. 3:13 CR 226 (RNC)
                                  )
DANIEL E. CARPENTER               )
_________________________________ )    JANUARY 11, 2018


       MOTION FOR ADMISSION OF JAMES M. COLE, ESQ. PRO HAC VICE
       Pursuant to Local Rule 83.1(d), the defendant, Daniel E. Carpenter, by and through

undersigned counsel, a member of the Bar of the District of Connecticut in good standing,

hereby moves for the admission of James M. Cole, Esq., of Sidley Austin LLP, to represent Mr.

Carpenter pro hac vice in this matter. In support of this motion, the undersigned represents the

following:

       1.       This matter was brought to trial before the bench commencing on February 16,

2016. The Court heard evidence on various days from February 16, 2016, through March 21,

2016, on which date closing arguments were made to the court.

       2.       The court rendered its verdict and special findings on June 6, 2016, finding the

defendant guilty on each of the 57 counts charged in the superseding indictment.

       3.       Mr. Carpenter is scheduled to be sentenced in this matter on February 21, 2018

at 10:00 a.m.




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        4.      The undersigned attorney, and/or co-counsel Richard R. Brown, Esq., anticipate

continuing to be present at any and all proceedings in this matter as well as being involved in

the drafting and filing of all papers to be filed with the court in this matter.

        5.      The undersigned attorney accepts the designation of agent for service of process

for the proposed pro hac vice attorney, if the privilege is accorded, for any dispute arising out

of the attorney’s admission under Local Rule 83.1(d).

        6.      It is not anticipated by the undersigned that the admission of this attorney pro

hac vice will require a modification of any scheduling order applicable in this case.

        7.      In accordance with Local Rule 83.1(d)(1), attached hereto as Exhibit A is an

Affidavit in Support of Admission Pro Hac Vice submitted by the proposed attorney.

WHEREFORE, it is so moved.


                                                DEFENDANT, DANIEL E. CARPENTER



                                                By        /s/ ct29237
                                                          Cody N. Guarnieri, Esq.
                                                          Brown Paindiris & Scott, LLP
                                                          100 Pearl Street, 2nd Floor
                                                          Hartford, CT 06103
                                                          Tel 860.522.3343
                                                          Fax 860.522.2490
                                                          Fed. Bar Ct29237
                                                          cody@bpslawyers.com




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                                      CERTIFICATION


        This is to certify that on January 11, 2018, a copy of the foregoing Motion was served
by email to all parties by operation of the Court’s electronic filing system or by mail on anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System. Also sent to the following by U.S.
postal mail:

A.U.S.A. David Novick
Office of U.S. Attorney
157 Church Street, 25th Floor
New Haven, CT 06510

A.U.S.A. Neeraj N. Patel
Office of U.S. Attorney
157 Church Street, 25th Floor
New Haven, CT 06510



                                                               /s/ ct29237
                                                        Cody N. Guarnieri, Esq.
                                                        Brown Paindiris & Scott, LLP
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                         EXHIBIT A




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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

                                              )
UNITED STATES OF AMERICA                      )
                                              )
       V.                                     )      CRIMINAL NO. 3:13 CR 226 (RNC)
                                              )
DANIEL E. CARPENTER                           )
                                              )      JANUARY 10, 2018

               AFFIDAVIT IN SUPPORT OF ADMISSION PRO HAC VICE
                            PURSUANT TO L. R. 83.l(d)

 I, James M. Cole, do hereby state and affirm, to the Honorable Judges of the United States
District Court for the District of Connecticut, the following in support of my admission pro hac
vice, as required by Local Rule 83 .1.(d):

1.     My office address is:

       Sidley Austin LLP
        1501 K Street, N.W. #600
       Washington, DC 20005
       202-736-8246
       jcole@sidley.com

2.     I am or have been a member of the following state and local bars (including my
       corresponding bar identific~tion number, where so assigned):

       District of Columbia Bar:     385857
       California Bar:               90896

3.     I have no pending disciplinary complaints as to which a finding has been made that such
       complaint should proceed to a hearing; and I have not been denied admission to, been
       disciplined by, resigned from, surrendered a license to practice before, or withdrawn an
       application for admission to practice while facing a disciplinary complaint before, this
       Court or any other court.

4.     I have fully reviewed and am familiar with the Federal Rules of Criminal Procedure, the
       applicable Local Rules of the United States District Court for the District of Connecticut,
       and the Connecticut Rules of Professional Conduct.
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 5.        I designate Attorney Cody N. Guarnieri, of Brown, Paindiris & Scott, LLP, 100 Pearl
           Street, 2nd Floor, Hartford, Connecticut, 06103, as my agent for service of process and
           the District of Connecticut as the forum for the resolution of any dispute arising out of
           my admission pro hac vice under this Local Rule 81 (d).

 I declare under penalty of perjury that the foregoing is true and correct. Executed on this day of
 January 10, 2018.




 Sworn to before me this
/[t'aay of January 10, 2018



Notary Public
My commission expires:
(Notary seal/stamp)



      District of Coiumtlia: :iS
      Subscribed and swcrn Io before me, in my presence,
      1hls ,I   o¾¼    day oi      Jl   IA   ~        ,   20.IK.              KAREN BLACKSTONE
                                                                       Notary Public of District of Columbia
      by    kfA(      t \ ~                                         Mi/ Commission Expires October 31, 2021

      -------···--- ·--··-·· _·---r--r·' Notary Public
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